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  In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 20-2066V
                                        UNPUBLISHED


 GEORGE HEIDRICH,                                           Chief Special Master Corcoran

                        Petitioner,                         Filed: June 23, 2022
 v.
                                                            Special Processing Unit (SPU);
 SECRETARY OF HEALTH AND                                    Ruling on Entitlement; Concession;
 HUMAN SERVICES,                                            Table Injury; Influenza (Flu) Vaccine;
                                                            Shoulder Injury Related to Vaccine
                       Respondent.                          Administration (SIRVA)


Leigh Finfer, Muller Brazil, LLP, Dresher, PA, for Petitioner.

Meghan Murphy, U.S. Department of Justice, Washington, DC, for Respondent.

                                   RULING ON ENTITLEMENT 1

       On December 30, 2020, George Heidrich filed a petition for compensation under
the National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq. 2 (the
“Vaccine Act”). Petitioner alleges that he suffered a Table injury – Shoulder Injury Related
to Vaccine Administration (“SIRVA”) – as a result of his November 8, 2019 influenza (“flu”)
vaccine. Petition at 1. Petitioner further alleges that the vaccine was administered within
the United States, that he suffered the residual effects of his injury for more than six
months, and that there has been no prior award or settlement of a civil action on his behalf
as a result of his injury. See Petition at 1, ¶¶ 1, 17,19. The case was assigned to the
Special Processing Unit of the Office of Special Masters.



1 Because this unpublished Ruling contains a reasoned explanation for the action in this case, I am required

to post it on the United States Court of Federal Claims' website in accordance with the E-Government Act
of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic Government
Services). This means the Ruling will be available to anyone with access to the internet. In accordance
with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I agree that
the identified material fits within this definition, I will redact such material from public access.

2 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease

of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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        On June 21, 2022, Respondent filed his Rule 4(c) report in which he concedes that
Petitioner is entitled to compensation in this case, as Petitioner has satisfied the criteria
set forth in the Vaccine Injury Table (“Table”). Respondent’s Rule 4(c) Report at 1, 5.
Specifically, Respondent indicates that

       petitioner had no history of pain or dysfunction in his left shoulder prior to
       the influenza vaccine; pain likely occurred within 48 hours after receipt of
       an intramuscular vaccination; the pain and reduced range of motion were
       limited to the shoulder in which the vaccine was administered; and no other
       condition or abnormality would explain petitioner’s symptoms.

Id. at 5. Respondent further agrees that “the statutory six-month sequelae requirement
has been satisfied. See id. § 300aa-11(c)(D)(I). Therefore, based on the record as it now
stands, petitioner has satisfied all legal prerequisites for compensation under the Act.” Id.

       In view of Respondent’s position and the evidence of record, I find that
Petitioner is entitled to compensation.

      IT IS SO ORDERED.

                                                         s/Brian H. Corcoran
                                                         Brian H. Corcoran
                                                         Chief Special Master




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